           Case 08-13141-BLS        Doc 10213-2        Filed 11/11/11      Page  1 2200
                                                                              Suite of 51
                                                                               1201 Third Avenue
                                                                               Seattle, WA 98101-3045

                                                                               206.622.3150 tel
                                                                               206.757.7700 fax

                                                                               Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                   July 13, 2011
Attn: Karlene W. Goller, Esq.                                          Invoice No. 5987882
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:             0026175-000386
Michael Omidi, M.D.

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
06/06/11   K. Sager                   0.30 Communicate R. Wilcox regarding May 26 retraction
                                           demand
06/07/11   K. Sager                   0.20 Review Silverman E-mail and communicate with A.
                                           Wickers and J. Glasser regarding ex parte (0.2); further
                                           communications regarding ex parte (0.2)
06/07/11   A. Wickers                 5.00 Communicate with Mr. Silverman regarding ex parte
                                           application (.2); communicate with Ms. Goller
                                           regarding same (.1); communicate with L. Kohn
                                           regarding research for opposition (.2); review research
                                           results (.2); prepare opposition (3.5); prepare for ex
                                           parte hearing (.8)
06/07/11   J. Glasser                 0.10 Correspondence with A. Wickers re key documents for
                                           ex parte application brought by Michael Omidi
06/07/11   L. Kohn                    2.20 Research for opposition to ex parte application
                                           regarding discovery while SLAPP motion pending
                                           (1.8); draft declaration of Alonzo Wickers in support of
                                           opposition to ex parte application (.4)
06/07/11   L. Kohn                    0.20 Communicate with Ms. Karlene Goller regarding draft
                                           response to 5/27 retraction demand
06/08/11   K. Sager                   0.30 Communicate with A. Wickers and team regarding ex
                                           parte result
06/08/11   A. Wickers                 3.00 Edit and finalize opposition to ex parte application to
                                           lift stay on discovery (.5); attend hearing on ex parte

                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
           Case 08-13141-BLS   Doc 10213-2        Filed 11/11/11      Page  2 2200
                                                                         Suite of 51
                                                                          1201 Third Avenue
                                                                          Seattle, WA 98101-3045

                                                                          206.622.3150 tel
                                                                          206.757.7700 fax

                                                                          Federal ID #XX-XXXXXXX




DATE       PROFESSIONAL        TIME DESCRIPTION OF SERVICES
                                      application (2.2); communicate with K. Sager and J.
                                      Glasser regarding same (.3)
06/10/11   A. Wickers            0.30 Edit draft of notice of ruling (.3)
06/10/11   L. Kohn               0.80 Draft notice of ruling on ex parte application in Omidi
                                      v. Hiltzik (.5); communicate with librarian regarding
                                      obtaining 6/8 minute order on plaintiff's ex parte
                                      application (.2); send draft notice of ruling to Ms.
                                      Karlene Goller (.1)
06/14/11   K. Sager              0.20 Review communications regarding opposition brief
06/14/11   L. Kohn               1.80 Review plaintiff's opposition to anti-SLAPP motion
                                      and supporting papers
06/15/11   L. Kohn               4.00 Draft section on first prong of SLAPP statute for reply
                                      brief (2.5); research on whether publication of a
                                      correction may be used as evidence of falsity (1.5)
06/16/11   J. Glasser            7.60 Research and draft reply for SLAPP motion
06/16/11   L. Kohn               4.50 Revise section on first prong of SLAPP statute for
                                      reply brief on SLAPP motion (2.2); draft objections to
                                      plaintiff's evidence (2.3)
06/17/11   K. Sager              0.20 Communicate with J. Glasser regarding reply brief on
                                      SLAPP motion
06/17/11   J. Glasser            6.40 Research and draft reply on SLAPP motion
06/17/11   L. Kohn               4.70 Revise reply in support of SLAPP motion (4.5); confer
                                      with J. Glasser regarding reply brief (.2)
06/18/11   K. Sager              0.40 Review and revise draft of reply brief on SLAPP
                                      motion
06/18/11   J. Glasser            3.20 Research and draft reply on SLAPP motion
06/19/11   K. Sager              7.50 Review and revise SLAPP reply, including review of
                                      cases and communications with J. Glasser and
                                      communications with clients regarding reply
06/19/11   K. Sager              0.70 Communicate with Mr. Hiltzik regarding SLAPP reply
                                      (.1); review and revise supplemental Request for
                                      Judicial Notice and Glasser deal (.4); revise reply (.2)
06/19/11   J. Glasser            7.80 Research and revise reply on SLAPP motion and
                                      related correspondence with K. Sager (7.1) ; draft
                                      supplemental request for judicial notice and
                                      supplemental Glasser declaration and related
                                      correspondence with K. Sager (.7)
06/19/11   L. Kohn               0.90 Revise objections to plaintiff's evidence on SLAPP
                                      motion (0.7); communicate with K. Sager regarding
                                      evidentiary objections (.2)
06/20/11   K. Sager              1.00 Work on reply papers to SLAPP motion for filing
                          PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS       Doc 10213-2        Filed 11/11/11      Page  3 2200
                                                                             Suite of 51
                                                                              1201 Third Avenue
                                                                              Seattle, WA 98101-3045

                                                                              206.622.3150 tel
                                                                              206.757.7700 fax

                                                                              Federal ID #XX-XXXXXXX




DATE       PROFESSIONAL            TIME DESCRIPTION OF SERVICES
06/20/11   J. Glasser                4.10 Communicate with Ms. Goller re comments and edits
                                          to SLAPP reply brief (.3); revise brief, review cite
                                          check, and prepare supporting papers and related
                                          correspondence with K. Sager (3.8)
06/20/11   K. Roth                   3.30 Run cite check regarding Reply in Support of SLAPP
                                          Motion per J. Glasser
06/21/11   K. Sager                  0.50 Discussion with L. Kohn regarding hearing preparation
                                          (.2); review materials for hearing (.3)
06/21/11   K. Sager                  0.30 Work on hearing preparation for SLAPP motion
06/21/11   B. Planchon               4.20 Pull and organize all authorities cited in Defendant's
                                          Special Motion to Strike, Plaintiff's Opposition to same
                                          and Reply for hearing
06/24/11   L. Kohn                   0.20 Communicate with K. Sager regarding hearings on
                                          SLAPP motions
06/26/11   K. Sager                  0.50 Review materials for SLAPP hearing
06/26/11   K. Sager                  0.70 Review profile of judge and reported SLAPP
                                          adhesions, ex parte application and opposition papers
                                          regarding SLAPP motion
06/26/11   K. Sager                  4.00 Review pleadings, exhibits, and cases and outline
                                          arguments for SLAPP hearing tomorrow
06/27/11   K. Sager                  3.80 Prepare for and attend hearing on SLAPP motion (3.5);
                                          follow-up discussion with client and J. Glasser (0.3)
06/27/11   J. Glasser                0.30 Confer with K. Sager re fee issue (.1); draft notice of
                                          ruling (.2);
06/28/11   K. Sager                  0.40 Discussion with J. Glasser regarding evidentiary
                                          objections (0.1); revise notice of ruling (0.2);
                                          discussion with L. Kohn regarding fee motion (0.1)
06/28/11   J. Glasser                0.10 Revise Notice of Ruling and related conferring with K.
                                          Sager
06/30/11   K. Sager                  0.20 Communications with J. Glasser and L. Kohn
                                          regarding hearing on fees motion
06/30/11   L. Kohn                   0.10 Reserve hearing date for fee motion
           Total Hours Worked       86.00



                                  DISBURSEMENT DETAIL

DESCRIPTION                                                      QUANTITY              AMOUNT
Photocopy Charges                                                      379                37.90
Filing fee - - APEX ATTORNEY SERVICES INC - 5/10/11                      1               102.00
                                PLEASE REMIT WITH PAYMENT
            Case 08-13141-BLS          Doc 10213-2       Filed 11/11/11          Page  4 2200
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                                                                                      1201 Third Avenue
                                                                                      Seattle, WA 98101-3045

                                                                                      206.622.3150 tel
                                                                                      206.757.7700 fax

                                                                                      Federal ID #XX-XXXXXXX




LASC per G. Pasquale
Outside delivery service - - APEX ATTORNEY SERVICES                                  1                   22.00
INC - 4/7/11 Pick up from Marla Dickerson per G. Pasquale
Outside search service - - Credit Card - 4/25/11 (20) LASC                           1              112.06
Online
Parking -- Kelli Sager 05/16/2011                                                    1                   16.00
West Publishing (billed at cost) computerized legal research                         1                   79.01
06/07/11 per A. Wickers
                 Total Current Disbursements                                                       $368.97



                    TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                        Total Current Services                          $33,325.50
                        Less Agreed Discount                              (3,332.55)
                        Adjusted Current Services                         29,992.95
                        Total Current Disbursements                           368.97
                                                                       ----------------

                        Total Current Invoice                           $30,361.92




                                 SUMMARY BY PROFESSIONAL

Professional                                        Hours Worked       Billed Per Hour       Bill Amount
Partner
      Sager, K.                                              21.20                522.00         11,066.40
      Wickers, A.                                              8.30               468.00           3,884.40
                                                        ------------                          ---------------
         Total                                               29.50                               14,950.80
Associate
      Glasser, J.                                            29.60                292.50           8,658.00
      Kohn, L.                                               19.40                270.00          5,238.00
                                                        ------------                          ---------------
         Total                                               49.00                               13,896.00
Paralegal
                                 PLEASE REMIT WITH PAYMENT
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                                                                          Suite of 51
                                                                            1201 Third Avenue
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                                                                            206.757.7700 fax

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      Planchon, B.                                        4.20          184.50              774.90
      Roth, K.                                            3.30          112.50              371.25
                                                   ------------                      ---------------
         Total                                            7.50                            1,146.15
                                                   ------------                      ---------------
      Total All Classes                                 86.00                          $29,992.95



                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                           $51,584.33

Current Invoice                                                           $30,361.92

                                                                     ---------------------
Total Balance Due This Matter                                              $81,946.25




                                  PLEASE REMIT WITH PAYMENT
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                                                                           Suite of 51
                                                                            1201 Third Avenue
                                                                            Seattle, WA 98101-3045

                                                                            206.622.3150 tel
                                                                            206.757.7700 fax

                                                                            Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                July 13, 2011
Attn: Karlene W. Goller, Esq.                                       Invoice No. 5987883
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:         0026175-000388
1 800 GET THIN, LLC

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
06/01/11   K. Sager                   0.50 Communicate with plaintiff's counsel regarding Ex
                                           Parte and communications with client and team
                                           regarding same (.3); communicate with R. Wilcox
                                           regarding background for possible Ex Parte (.2)
06/02/11   K. Sager                   0.40 Communicate with Ms. Goller regarding Ex Parte
                                           notice (0.2); communicate with plaintiff's counsel
                                           about "ex parte" notice (0.2)
06/20/11   L. Kohn                    1.50 Attend hearing on defendants' anti-SLAPP motions and
                                           motions to dismiss in Dr. Feizbakhsh case
06/21/11   L. Kohn                    0.20 Communicate with Mr. Aaron Rudin, attorney in Dr.
                                           Feizbaksh case regarding Judge Snyder's tentative
                                           order
           Total Hours Worked         2.60




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                                      Suite of 51
                                                                                        1201 Third Avenue
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                                                                                        206.622.3150 tel
                                                                                        206.757.7700 fax

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                  TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                            $1,032.00
                          Less Agreed Discount                                (103.20)
                          Adjusted Current Services                            928.80
                          Total Current Disbursements                              0.00
                                                                         ----------------

                          Total Current Invoice                               $928.80




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour        Bill Amount
Partner
      Sager, K.                                                  0.90               522.00             469.80
                                                          ------------                          ---------------
         Total                                                   0.90                                  469.80
Associate
      Kohn, L.                                                   1.70               270.00             459.00
                                                          ------------                          ---------------
         Total                                                   1.70                                  459.00
                                                          ------------                          ---------------
      Total All Classes                                          2.60                                $928.80



                                     STATEMENT OF ACCOUNT
Balance from Previous Statement                                                       $81,739.90

Current Invoice                                                                             $928.80

                                                                                ---------------------
Total Balance Due This Matter                                                         $82,668.70


                                   PLEASE REMIT WITH PAYMENT
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                                                                            Suite of 51
                                                                             1201 Third Avenue
                                                                             Seattle, WA 98101-3045

                                                                             206.622.3150 tel
                                                                             206.757.7700 fax

                                                                             Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                 July 13, 2011
Attn: Karlene W. Goller, Esq.                                        Invoice No. 5987884
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:             0026175-000391
Omidi-Pfeifer

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
06/01/11   L. Kohn                    1.00 Revise response to the 5/26 retraction demand
06/02/11   K. Sager                   0.40 Draft response to Silverman E-mail concerning contact
                                           by Stuart Pfeifer with Omidis
06/02/11   K. Sager                   0.20 Communicate with team regarding new retraction
                                           demands (May articles)
06/02/11   J. Glasser                 0.20 Review and revise 5/26 retraction demand response
                                           letter
06/06/11   R. Wilcox                  1.10 Review and revise response to May 26, 2011 retraction
                                           demand (1.1)
06/08/11   K. Sager                   0.20 Communicate with team regarding stipulation about
                                           retraction demand argument
06/08/11   A. Wickers                 0.50 Communicate with Ms. Goller, Mr. Silverman, and J.
                                           Glasser regarding plaintiff's proposed stipulation
                                           regarding discovery and possible ex parte application
                                           (.5)
06/08/11   R. Wilcox                  0.10 Review Ms. Goller's revisions to letter responding to
                                           May 26th retraction demand and communicate with L.
                                           Kohn regarding finalizing same (.1)
06/08/11   J. Glasser                 0.10 Communicate with R. Wilcox and L. Kohn regarding
                                           Julian Omidi's anti-SLAPP motion and strategy for
                                           dealing with correction issue
06/08/11   L. Kohn                    0.20 Revise response to 5/27 retraction demand per changes
                                           from Ms. Karlene Goller

                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                         Suite of 51
                                                                          1201 Third Avenue
                                                                          Seattle, WA 98101-3045

                                                                          206.622.3150 tel
                                                                          206.757.7700 fax

                                                                          Federal ID #XX-XXXXXXX




DATE       PROFESSIONAL        TIME DESCRIPTION OF SERVICES
06/09/11   A. Wickers            0.30 Communicate with Mr. Silverman regarding
                                      stipulation (.1); communicate with L. Kohn regarding
                                      stipulation (.2)
06/10/11   A. Wickers            0.60 Edit draft of stipulation and communicate with L.
                                      Kohn regarding same (.5); communicate with Mr.
                                      Trope regarding same (.1)
06/10/11   L. Kohn               0.90 Draft stipulation and proposed order consistent with
                                      ruling on ex parte application in Omidi v. Hiltzik (.8);
                                      send draft stipulation to Ms. Karlene Goller for review
                                      (.1)
06/13/11   K. Sager              0.10 Communicate with A. Wickers regarding status of
                                      stipulation
06/13/11   A. Wickers            0.60 Communicate with Mr. Trope and negotiate terms of
                                      stipulation (.6)
06/14/11   K. Sager              0.20 Communications with team regarding new retraction
                                      demand and response (June 11 article)
06/14/11   L. Kohn               3.50 Review 6-13 retraction demand from Mr. Robert
                                      Silverman (.3); draft response to 5/27 retraction
                                      demand (3.2)
06/20/11   K. Sager              0.20 Communicate with L. Kohn and R. Wilcox regarding
                                      retraction demand (5/27) and response
06/20/11   K. Sager              0.30 Discussion with J. Glasser regarding SLAPP reply (.2);
                                      discussion with L. Kohn regarding evidentiary
                                      objections for same (.1)
06/20/11   R. Wilcox             0.30 Review and revise letter responding to May 27th
                                      retraction demand (.3)
06/20/11   J. Glasser            6.70 Research and draft reply on SLAPP motion
06/21/11   K. Sager              0.30 Discussion with J. Glasser regarding SLAPP reply and
                                      discussion with L. Kohn regarding evidentiary
                                      objections
06/21/11   K. Sager              4.00 Review and revise evidentiary objections for SLAPP
                                      reply (.3); review opposition brief and materials and
                                      review and revise reply in support of SLAPP motion
06/21/11   J. Glasser           12.40 Research and draft reply for SLAPP motion
06/21/11   L. Kohn               2.50 Draft objections to plaintiff's evidence for SLAPP
                                      reply
06/22/11   J. Glasser            2.50 Revise reply for SLAPP motion and review cite check
                                      (2.2); confer with L. Kohn re evidentiary objections
                                      (.1); call with Ms. Goller regarding edits to reply (.2)
06/22/11   L. Kohn               0.60 Revise evidentiary objections for SLAPP reply
06/22/11   K. Roth               2.30 Cite check reply regarding SLAPP motion and prepare
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                                                                                102200
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                                                                               1201 Third Avenue
                                                                               Seattle, WA 98101-3045

                                                                               206.622.3150 tel
                                                                               206.757.7700 fax

                                                                               Federal ID #XX-XXXXXXX




DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
                                           Appendix of Non-California Authorities regarding
                                           same
06/24/11   L. Kohn                    0.50 Communicate with K. Goller regarding response to
                                           May 27, 2011 retraction demand (.2); revise and
                                           finalize response letter (.3)
06/24/11   K. Roth                    1.80 Review SLAPP briefing and prepare reference set of
                                           all authorities cited for hearing
06/27/11   K. Sager                   0.50 Review tentative ruling on SLAPP motion and
                                           communications with clients and team regarding same
06/27/11   J. Glasser                 0.20 Review tentative ruling granting special motion to
                                           strike Julian Omidi's Complaint
06/27/11   L. Kohn                    0.20 Review tentative order on anti-SLAPP motion
06/27/11   E. Baca                    5.00 Pull cases cited in SLAPP motion, opposition and reply
                                           for hearing
06/28/11   K. Sager                   2.60 Communicate with clients (0.2); gather and review
                                           materials for hearing tomorrow (0.6); review
                                           pleadings, cases and exhibits and outline issues for
                                           hearing on SLAPP motion (1.8)
06/29/11   K. Sager                   4.10 Review cases and statutes and prepare outline for
                                           hearing, and attend hearing on SLAPP motion (3.5);
                                           follow-up discussion with Ms. Goller (0.3); discussion
                                           with L. Kohn regarding hearing today and fee motion
                                           (0.3)
06/29/11   J. Glasser                 0.40 Review disciplinary records against Mr. Oxman and
                                           status of State Bar court case pending against him and
                                           related correspondence with Ms. Goller and K. Sager
06/29/11   L. Kohn                    3.00 Draft response to June 13, 2011 retraction demand
                                           regarding article entitled "Insurer denies legal coverage
                                           to 1-800-GET-THIN advertiser"
           Total Hours Worked        60.60



                                   DISBURSEMENT DETAIL

DESCRIPTION                                                       QUANTITY              AMOUNT
Photocopy Charges                                                     1,349                134.90
Color photocopy charge per Gabriel Peralto                               26                 13.00
               Total Current Disbursements                                                $147.90


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                                                                                        112200
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                                                                                        206.757.7700 fax

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                    TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                          $21,235.50
                          Less Agreed Discount                              (2,123.55)
                          Adjusted Current Services                         19,111.95
                          Total Current Disbursements                           147.90
                                                                         ----------------

                          Total Current Invoice                           $19,259.85




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Partner
      Sager, K.                                                13.10                522.00           6,838.20
      Wickers, A.                                                2.00               468.00             936.00
      Wilcox, R.                                                 1.50               391.50             587.25
                                                          ------------                          ---------------
         Total                                                 16.60                                 8,361.45
Associate
      Glasser, J.                                              22.50                292.50           6,581.25
      Kohn, L.                                                 12.40                270.00          3,348.00
                                                          ------------                          ---------------
         Total                                                 34.90                                 9,929.25
Paralegal
      Roth, K.                                                   4.10               112.50             461.25
                                                          ------------                          ---------------
       Total                                                     4.10                                  461.25
Document_Clerk
    Baca, E.                                                     5.00                72.00             360.00
                                                          ------------                          ---------------
         Total                                                   5.00                                  360.00
                                                          ------------                          ---------------
      Total All Classes                                        60.60                              $19,111.95

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                                                                           Seattle, WA 98101-3045

                                                                           206.622.3150 tel
                                                                           206.757.7700 fax

                                                                           Federal ID #XX-XXXXXXX




                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                          $22,102.05

Current Invoice                                                          $19,259.85

                                                                    ---------------------
Total Balance Due This Matter                                             $41,361.90




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                                                                               1201 Third Avenue
                                                                               Seattle, WA 98101-3045

                                                                               206.622.3150 tel
                                                                               206.757.7700 fax

                                                                               Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                   July 22, 2011
Attn: Karlene W. Goller, Esq.                                          Invoice No. 5990790
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:              0026175-000004
General/Advice

DATE       PROFESSIONAL               TIME DESCRIPTION OF SERVICES
06/02/11   R. London                    0.80 Review Dancer demand letter, e-memo to Ms. Xanders
                                             regarding same
06/16/11   K. Sager                     0.50 Review materials regarding threatened lawsuit and
                                             communicate with Ms. Sanhueza regarding same
06/17/11   A. Wickers                   0.20 Communicate with J. Glasser regarding request for
                                             access to parole revocation hearing (.2)
06/23/11   R. London                    0.10 E-memo to client regarding FCC Truth in Caller ID
                                             regulations
06/24/11   R. London                    0.10 Review Truth in Caller ID R&O
06/27/11   R. London                    0.10 Draft e-memo analyzing impact of Truth in Caller ID
                                             rules
06/30/11   J. Waggoner                  0.20 Communicate with K. Sager regarding getting notice in
                                             Dodgers case
           Total Hours Worked           2.00



                                     DISBURSEMENT DETAIL

DESCRIPTION                                                        QUANTITY             AMOUNT
Law library - - Photocopies / Jan Raymond / Legislative                   1               577.75
History (LA)


                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                                       Seattle, WA 98101-3045

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                                                                                       206.757.7700 fax

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                Total Current Disbursements                                                         $577.75



                  TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                         Total Current Services                            $1,038.00
                         Less Agreed Discount                                (103.80)
                         Adjusted Current Services                            934.20
                         Total Current Disbursements                           577.75
                                                                        ----------------

                         Total Current Invoice                             $1,511.95




                                  SUMMARY BY PROFESSIONAL

Professional                                         Hours Worked       Billed Per Hour       Bill Amount
Partner
      Sager, K.                                                 0.50               522.00             261.00
      Waggoner, J.                                              0.20               522.00             104.40
      Wickers, A.                                               0.20               468.00              93.60
                                                         ------------                          ---------------
       Total                                                    0.90                                  459.00
Of_Counsel
     London, R.                                                 1.10               432.00             475.20
                                                         ------------                          ---------------
        Total                                                   1.10                                  475.20
                                                         ------------                          ---------------
     Total All Classes                                          2.00                                $934.20




                                  PLEASE REMIT WITH PAYMENT
          Case 08-13141-BLS          Doc 10213-2   Filed 11/11/11    PageSuite
                                                                           152200
                                                                               of 51
                                                                           1201 Third Avenue
                                                                           Seattle, WA 98101-3045

                                                                           206.622.3150 tel
                                                                           206.757.7700 fax

                                                                           Federal ID #XX-XXXXXXX




                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                          $18,207.93

Current Invoice                                                            $1,511.95

                                                                    ---------------------
Total Balance Due This Matter                                             $19,719.88




                                  PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS        Doc 10213-2      Filed 11/11/11       PageSuite
                                                                                162200
                                                                                    of 51
                                                                                1201 Third Avenue
                                                                                Seattle, WA 98101-3045

                                                                                206.622.3150 tel
                                                                                206.757.7700 fax

                                                                                Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                  July 22, 2011
Attn: Karlene W. Goller, Esq.                                         Invoice No. 5990791
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:           0026175-000106
Newsracks/General

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
06/15/11   A. Wickers                 0.40 Research regarding advertising provisions in Burbank
                                           and Glendale newsrack ordinances (.4)
           Total Hours Worked         0.40



                 TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                      Total Current Services                          $208.00
                      Less Agreed Discount                              (20.80)
                      Adjusted Current Services                        187.20
                      Total Current Disbursements                          0.00
                                                                 ----------------

                      Total Current Invoice                           $187.20




                                SUMMARY BY PROFESSIONAL


                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
          Case 08-13141-BLS          Doc 10213-2   Filed 11/11/11        PageSuite
                                                                               172200
                                                                                   of 51
                                                                               1201 Third Avenue
                                                                               Seattle, WA 98101-3045

                                                                               206.622.3150 tel
                                                                               206.757.7700 fax

                                                                               Federal ID #XX-XXXXXXX




Professional                                 Hours Worked         Billed Per Hour      Bill Amount
Partner
      Wickers, A.                                         0.40             468.00              187.20
                                                   ------------                         ---------------
         Total                                            0.40                                 187.20
                                                   ------------                         ---------------
      Total All Classes                                   0.40                               $187.20



                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                                $1,868.46

Current Invoice                                                                  $187.20

                                                                        ---------------------
Total Balance Due This Matter                                                  $2,055.66




                                  PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS        Doc 10213-2       Filed 11/11/11     PageSuite
                                                                               182200
                                                                                   of 51
                                                                              1201 Third Avenue
                                                                              Seattle, WA 98101-3045

                                                                              206.622.3150 tel
                                                                              206.757.7700 fax

                                                                              Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                  July 22, 2011
Attn: Karlene W. Goller, Esq.                                         Invoice No. 5990792
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:            0026175-000368
Beverly Hills Surgery Center
0000001927

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
06/06/11   K. Sager                   0.50 Review subpoena and communications with Ms. Goller
                                           and team regarding same
06/06/11   J. Glasser                 0.20 Correspondence with K. Sager about peremptory
                                           challenge issue
06/08/11   K. Sager                   0.20 Communicate with L. Kohn and J. Glasser regarding
                                           notice of related cases and follow-up
06/08/11   J. Glasser                 0.20 Call clerk of court regarding related cases issue and
                                           related correspondence with K. Sager and L. Kohn
06/09/11   L. Kohn                    0.40 Draft notice of subpoena
06/10/11   R. Wilcox                  0.30 Revise Notice of Subpoena in Related Case and
                                           communicate with L. Kohn regarding same (.3)
06/10/11   L. Kohn                    0.30 Revise notice of subpoena (0.2); confer with J. Glasser
                                           regarding changes to notice (0.1)
06/13/11   K. Sager                   0.50 Communications with team regarding subpoena and
                                           response (.3); communicate with L. Kohn regarding
                                           response to related case notice (.2)
06/13/11   L. Kohn                    0.40 Revise notice of subpoena to indicate notice of related
                                           case was granted (.2); communicate with Ms. Karlene
                                           Goller (.1); communicate with court clerk regarding
                                           grant of notice of related cases (.1)
06/14/11   L. Kohn                    0.30 Confer with R. Wilcox regarding notice of subpoena
                                           and finalize for filing

                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
           Case 08-13141-BLS       Doc 10213-2       Filed 11/11/11      PageSuite
                                                                               192200
                                                                                   of 51
                                                                              1201 Third Avenue
                                                                              Seattle, WA 98101-3045

                                                                              206.622.3150 tel
                                                                              206.757.7700 fax

                                                                              Federal ID #XX-XXXXXXX




DATE       PROFESSIONAL            TIME DESCRIPTION OF SERVICES
06/15/11   L. Kohn                   0.50 Draft notice of ruling for the orders re: related cases.
06/16/11   L. Kohn                   0.30 Telephone conference with Mr. Erik Syverson
                                          regarding orders on notices of related cases
06/20/11   K. Sager                  0.20 Discussion with J. Glasser and discussion with L.
                                          Kohn regarding response to subpoena
06/20/11   L. Kohn                   0.80 Revise objections to subpoena for production of
                                          business records
06/21/11   K. Sager                  0.40 Review objections and discussion with L. Kohn
                                          regarding same
06/21/11   K. Sager                  0.30 Further revise objections; communicate with Ms.
                                          Goller
06/21/11   K. Sager                  0.30 Review and circulate peremptory challenges and
                                          discussion with L. Kohn regarding objection to
                                          challenge
06/21/11   L. Kohn                   1.80 Finalize and serve objections to deposition subpoena
                                          for production of business records (.8); communicate
                                          with librarian regarding case search for new opposing
                                          counsel, Mr. Erik Syverson (.2); review Mr. Syverson's
                                          prior libel cases (.8)
06/22/11   L. Kohn                   1.70 Draft objection to peremptory challenge
06/23/11   K. Sager                  0.30 Review and revise objections to peremptory challenges
                                          and communicate with Ms. Goller regarding same
06/23/11   K. Sager                  0.30 Review changes from Ms. Goller and communicate
                                          with J. Glasser and L. Kohn regarding same
           Total Hours Worked       10.20



                                  DISBURSEMENT DETAIL

DESCRIPTION                                                      QUANTITY              AMOUNT
Photocopy Charges                                                    1,208                120.80
              Total Current Disbursements                                                $120.80




                                PLEASE REMIT WITH PAYMENT
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                                                                                        202200
                                                                                            of 51
                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

                                                                                        206.622.3150 tel
                                                                                        206.757.7700 fax

                                                                                        Federal ID #XX-XXXXXXX




                    TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                            $3,950.50
                          Less Agreed Discount                                (395.05)
                          Adjusted Current Services                          3,555.45
                          Total Current Disbursements                           120.80
                                                                         ----------------

                          Total Current Invoice                             $3,676.25




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Partner
      Sager, K.                                                  3.00               522.00           1,566.00
      Wilcox, R.                                                 0.30               391.50             117.45
                                                          ------------                          ---------------
         Total                                                   3.30                                1,683.45
Associate
      Glasser, J.                                                0.40               292.50             117.00
      Kohn, L.                                                   6.50               270.00          1,755.00
                                                          ------------                          ---------------
         Total                                                   6.90                                1,872.00
                                                          ------------                          ---------------
      Total All Classes                                        10.20                               $3,555.45



                                     STATEMENT OF ACCOUNT
Balance from Previous Statement                                                       $22,895.46

Current Invoice                                                                         $3,676.25

                                                                                ---------------------
Total Balance Due This Matter                                                         $26,571.71
                                   PLEASE REMIT WITH PAYMENT
             Case 08-13141-BLS           Doc 10213-2      Filed 11/11/11      PageSuite
                                                                                    212200
                                                                                        of 51
                                                                                   1201 Third Avenue
                                                                                   Seattle, WA 98101-3045

                                                                                   206.622.3150 tel
                                                                                   206.757.7700 fax

                                                                                   Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                       July 22, 2011
Attn: Karlene W. Goller, Esq.                                              Invoice No. 5990793
Vice President and Deputy General Counsel                                  SENT ELECTRONICALLY
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

                           ELECTRONIC BILLING - DO NOT MAIL
                                 FOR FILING PURPOSES ONLY
Matter No.              0026175-000392
Strick

DATE         PROFESSIONAL                TIME DESCRIPTION OF SERVICES
06/01/11     K. Sager                      0.20 Communications with team regarding Ex Parte order
06/01/11     J. Segal                      0.20 Confer with S. Sullivan regarding motion to compel
                                                arbitration and extension
06/02/11     K. Sager                      0.20 Review memorandum from J. Segal regarding meet
                                                and confer deadlines and communicate with team
                                                regarding same
06/02/11     J. Segal                      0.30 Research issues regarding motion to compel arbitration
                                                regarding meet and confer and draft emails regarding
                                                same
06/07/11     J. Segal                      0.90 Draft outline of motion to compel arbitration
06/12/11     S. Sullivan                   1.00 Review documents provided by client in preparation
                                                for motion to compel arbitration (.9); review and edit
                                                outline for motion to compel arbitration (.1).
06/13/11     S. Sullivan                   2.50 Review Complaint, documents provided by client and
                                                correspondence between parties and counsel to prepare
                                                for motion to compel arbitration (2.1); conference
                                                regarding strategy for preparing motion to compel
                                                arbitration (.4).
06/14/11     J. Segal                      5.10 Research and draft motion to compel arbitration and


                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
           Case 08-13141-BLS   Doc 10213-2       Filed 11/11/11      PageSuite
                                                                           222200
                                                                               of 51
                                                                          1201 Third Avenue
                                                                          Seattle, WA 98101-3045

                                                                          206.622.3150 tel
                                                                          206.757.7700 fax

                                                                          Federal ID #XX-XXXXXXX




DATE       PROFESSIONAL        TIME DESCRIPTION OF SERVICES
                                      stay proceedings
06/15/11   J. Segal              0.40 Confer with S. Sullivan regarding motion to compel
                                      arbitration
06/17/11   J. Segal              7.80 Draft motion to compel arbitration
06/17/11   S. Sullivan           3.00 Review documents provided by client for documents
                                      necessary to support same (.3); review and revise
                                      motion to compel arbitration (1.9); research for same
                                      (.8).
06/18/11   K. Sager              0.10 Communicate with S. Sullivan and J. Segal regarding
                                      arbitration motion
06/18/11   J. Segal              2.40 Draft Fung and Jassy declarations for motion to
                                      compel arbitration
06/18/11   S. Sullivan           4.10 Work on motion to compel arbitration and supporting
                                      documents (3.4); research for same (0.7).
06/19/11   J. Segal              0.30 Draft Segal declaration for motion to compel
                                      arbitration
06/19/11   S. Sullivan           5.40 Work on motion to compel arbitration and supporting
                                      documents (3.5); research for same (1.9).
06/20/11   K. Sager              0.60 Review and revise draft E-mail regarding meet and
                                      confer and communicate with plaintiff's counsel (.3);
                                      discussion with S. Sullivan regarding motion to compel
                                      arbitration (.3)
06/20/11   K. Sager              0.20 Follow up communications with plaintiff's counsel
06/20/11   J. Segal              6.60 Revise motion to compel arbitration and declarations
06/20/11   S. Sullivan           7.00 Work on motion to compel arbitration (5.3); research
                                      for same (1.7)
06/21/11   K. Sager              0.20 Communications with plaintiff's counsel regarding
                                      meet and confer call tomorrow
06/22/11   K. Sager              2.30 Review and revise motion to compel arbitration and
                                      stay and declarations (1.0); outline issues for meet and
                                      confer call (.2) conference call with K. Moskowitz, E.
                                      Greenburg, and S. Sullivan (.7); telephone conference
                                      S.Sullivan regarding follow up on motion and
                                      stipulation (.2); communicate with Ms. Goller
                                      regarding same
06/22/11   K. Sager              0.40 Communicate with J. Rosenfeld regarding E.
                                      Greenburg (.2); communicate with Ms. Goller and J.
                                      Jassey regarding hearing date (.2)
06/22/11   J. Segal              7.10 Revise Fung and Jassy declarations (2.0); research and
                                      draft section of motion to compel arbitration regarding
                                      corporate parents and subsidiaries compelling
                          PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS   Doc 10213-2       Filed 11/11/11      PageSuite
                                                                           232200
                                                                               of 51
                                                                          1201 Third Avenue
                                                                          Seattle, WA 98101-3045

                                                                          206.622.3150 tel
                                                                          206.757.7700 fax

                                                                          Federal ID #XX-XXXXXXX




DATE       PROFESSIONAL        TIME DESCRIPTION OF SERVICES
                                      arbitration (5.1)
06/22/11   S. Sullivan           6.70 Review and respond to email correspondence
                                      regarding timing for hearing on and form of motion to
                                      compel arbitration (0.4); work on motion to compel
                                      arbitration and supporting documents (4.6); attend
                                      telephonic meet and confer with counsel for Strick
                                      regarding motion to compel arbitration (0.7).
06/23/11   K. Sager              1.50 Work on declarations for motion to compel arbitration
                                      and communications with clients and team regarding
                                      same
06/23/11   K. Sager              3.50 Communications with team regarding exhibits (.2);
                                      review and revise stipulation and communicate with
                                      client and co-counsel (.4); communicate with Ms. Fung
                                      declaration, Jassey declarations, Sager declaration
                                      (1.0); communications with J. Jassey (.3); work on
                                      revisions to reply brief (1.5)
06/23/11   J. Segal              5.90 Research issues regarding motion to compel and choice
                                      of law, application of state vs. federal law (4.5);
                                      coordinate exhibits (1.4)
06/23/11   S. Sullivan           7.50 Work on motion to compel arbitration and stay
                                      proceedings and supporting declarations (6.1); research
                                      for same (1); work on stipulation regarding hearing and
                                      briefing schedule (.5); review and organize exhibits for
                                      declarations and motion to compel arbitration (.8).
06/24/11   K. Sager              4.10 Review and revise reply brief and communications
                                      with team regarding same (3.8); follow up with S.
                                      Sullivan and J. Segal (.3)
06/24/11   K. Sager              0.30 Telephone conference with S. Sullivan regarding
                                      proposed order and new section regarding JAMS rules,
                                      and filing details
06/24/11   K. Sager              0.30 Review E-memo from S. Sullivan regarding signature
                                      requirement and communicate with S. Sullivan
                                      regarding same
06/24/11   J. Segal              2.00 Check field of cases regarding copyright and arbiration
                                      for negative authority
06/24/11   S. Sullivan           7.10 Research regarding whether reference to JAMS in
                                      agreement compels arbitrability decision by arbitrator,
                                      not court (1.4); research whether signature required for
                                      enforceability of arbitration agreement (1.4); work on
                                      motion to compel and supporting papers (3.1); finalize
                                      stipulation regarding hearing date and briefing
                          PLEASE REMIT WITH PAYMENT
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                                                                           242200
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                                                                          1201 Third Avenue
                                                                          Seattle, WA 98101-3045

                                                                          206.622.3150 tel
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DATE       PROFESSIONAL        TIME DESCRIPTION OF SERVICES
                                      schedule (.5); review and respond to email
                                      correspondence regarding status of review of
                                      stipulation regarding hearing date and briefing
                                      schedule (.2); tele-conference with K. Goller regarding
                                      edits to motion to compel arbitration and stay
                                      proceedings (.5).
06/24/11   B. Planchon           2.40 Review Motion to Compel Arbitration and Stay
                                      Proceedings for all cites to judicial authority and
                                      prepare negative history report and review report
06/25/11   K. Sager              0.60 Review and revise declarations (.2); review sections on
                                      unsigned agreements and parties agreement on JAMS
                                      rules and communicate with S. Sullivan regarding
                                      same
06/25/11   S. Sullivan           0.50 Review email correspondence regarding motion to
                                      compel arbitration and stay proceedings.
06/26/11   K. Sager              0.70 Revise motion to compel arbitration and Sager
                                      declaration;, and communicate with S. Sullivan
                                      regarding same
06/26/11   K. Sager              0.40 Review and revise Sager declaration and reply brief,
                                      and communications with S. Sullivan regarding same
06/26/11   S. Sullivan           2.50 Review and revise motion to compel arbitration and
                                      supporting documents
06/27/11   K. Sager              1.10 Discussion with Ms. Goller regarding background facts
                                      and regarding motion to compel arbitration (0.3);
                                      discussion with S. Sullivan regarding changes to
                                      motion and declarations (0.3); review communication
                                      with plaintiff's counsel and respond (0.3); follow-up
                                      with plaintiff's counsel (0.2)
06/27/11   S. Sullivan           4.40 Revise motion to compel arbitration and supporting
                                      documents (3.8); correspond with plaintiff's counsel
                                      regarding status of stipulation for hearing and briefing
                                      schedule (.5); tele-conference with clerk for Judge
                                      Marshall regarding time to notice hearing (.1).
06/28/11   K. Sager              0.90 Review letters and communications from E. Greenberg
                                      to Judge Marshall's clerk and multiple communications
                                      with clerk and counsel regarding same (0.5); further
                                      communications with plaintiff's counsel (0.2); review
                                      association of counsel form and communicate with J.P.
                                      Jassy regarding same (0.2)
06/28/11   S. Sullivan           0.70 Review and respond to email correspondence
                                      regarding plaintiff's threat to seek ex parte relief to
                          PLEASE REMIT WITH PAYMENT
            Case 08-13141-BLS           Doc 10213-2       Filed 11/11/11          PageSuite
                                                                                        252200
                                                                                            of 51
                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

                                                                                        206.622.3150 tel
                                                                                        206.757.7700 fax

                                                                                        Federal ID #XX-XXXXXXX




DATE        PROFESSIONAL               TIME DESCRIPTION OF SERVICES
                                              change hearing date on motion to compel arbitration.
06/30/11    K. Sager                     1.10 Review communications with plaintiff's counsel and
                                              draft response (on ex parte) including communications
                                              with client and team (0.5); communications with S.
                                              Sullivan regarding opposition to ex parte (0.3);
                                              discussion with S. Sullivan and J. Segal regarding
                                              anticipated ex parte application (0.3)
06/30/11    J. Segal                     0.10 Review team E-mails
06/30/11    S. Sullivan                  1.70 Review and respond to email correspondence
                                              regarding plaintiff's ex parte application to move
                                              hearing date on motion to compel arbitration (.2); work
                                              on opposition to anticipated ex parte application to
                                              move hearing date on motion to compel arbitration
                                              (1.5).
            Total Hours Worked         114.30



                   TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                          $43,896.50
                          Less Agreed Discount                              (4,389.65)
                          Adjusted Current Services                         39,506.85
                          Total Current Disbursements                              0.00
                                                                         ----------------

                          Total Current Invoice                           $39,506.85




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Partner
      Sager, K.                                                18.70                522.00           9,761.40
                                                          ------------                          ---------------
           Total                                               18.70                                 9,761.40
                                   PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS         Doc 10213-2   Filed 11/11/11    PageSuite
                                                                           262200
                                                                               of 51
                                                                           1201 Third Avenue
                                                                           Seattle, WA 98101-3045

                                                                           206.622.3150 tel
                                                                           206.757.7700 fax

                                                                           Federal ID #XX-XXXXXXX




Associate
      Segal, J.                                         39.10          270.00          10,557.00
      Sullivan, S.                                      54.10          346.50          18,745.65
                                                   ------------                     ---------------
         Total                                          93.20                          29,302.65
Paralegal
      Planchon, B.                                        2.40         184.50              442.80
                                                   ------------                     ---------------
         Total                                            2.40                             442.80
                                                   ------------                     ---------------
      Total All Classes                                114.30                         $39,506.85



                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                          $16,848.90

Current Invoice                                                          $39,506.85

                                                                    ---------------------
Total Balance Due This Matter                                             $56,355.75




                                  PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS          Doc 10213-2        Filed 11/11/11    PageSuite
                                                                                 272200
                                                                                     of 51
                                                                                1201 Third Avenue
                                                                                Seattle, WA 98101-3045

                                                                                206.622.3150 tel
                                                                                206.757.7700 fax

                                                                                Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                    July 22, 2011
Attn: Karlene W. Goller, Esq.                                           Invoice No. 5990794
Vice President and Deputy General Counsel                               SENT ELECTRONICALLY
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

                      ELECTRONIC BILLING - DO NOT MAIL
                               FOR FILING PURPOSES ONLY
Matter No.          0026175-000393
Marisa Rodriguez

DATE       PROFESSIONAL                TIME DESCRIPTION OF SERVICES
06/08/11   K. Henry                      6.00 Continue to draft Reply Brief (6.0)
06/13/11   K. Henry                      2.30 Finalize Reply Brief
06/14/11   K. Henry                      4.20 Attend hearing on 827 Petition (3.0); communications
                                              with Ms. Goller regarding today's hearing (.2);
                                              research for potential writ including deadline (0.7)
           Total Hours Worked           12.50



                                     DISBURSEMENT DETAIL

DESCRIPTION                                                         QUANTITY             AMOUNT
Photocopy Charges                                                         305               30.50
West Publishing (billed at cost) computerized legal research                1               29.17
06/14/11 per K. Henry
                Total Current Disbursements                                                    $59.67




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
          Case 08-13141-BLS             Doc 10213-2       Filed 11/11/11          PageSuite
                                                                                        282200
                                                                                            of 51
                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

                                                                                        206.622.3150 tel
                                                                                        206.757.7700 fax

                                                                                        Federal ID #XX-XXXXXXX




                  TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                            $4,875.00
                          Less Agreed Discount                                (656.25)
                          Adjusted Current Services                          4,218.75
                          Total Current Disbursements                            59.67
                                                                         ----------------

                          Total Current Invoice                             $4,278.42




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Associate
      Henry, K.                                                12.50                337.50           4,218.75
                                                          ------------                          ---------------
         Total                                                 12.50                                 4,218.75
                                                          ------------                          ---------------
      Total All Classes                                        12.50                               $4,218.75



                                     STATEMENT OF ACCOUNT
Balance from Previous Statement                                                         $3,211.20

Current Invoice                                                                         $4,278.42

                                                                                ---------------------
Total Balance Due This Matter                                                          $7,489.62




                                   PLEASE REMIT WITH PAYMENT
             Case 08-13141-BLS           Doc 10213-2      Filed 11/11/11     PageSuite
                                                                                   292200
                                                                                       of 51
                                                                                  1201 Third Avenue
                                                                                  Seattle, WA 98101-3045

                                                                                  206.622.3150 tel
                                                                                  206.757.7700 fax

                                                                                  Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                      July 22, 2011
Attn: Karlene W. Goller, Esq.                                             Invoice No. 5990795
Vice President and Deputy General Counsel                                 SENT ELECTRONICALLY
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

                          ELECTRONIC BILLING - DO NOT MAIL
                                 FOR FILING PURPOSES ONLY
Matter No.              0026175-000396
Ramirez

DATE         PROFESSIONAL                TIME DESCRIPTION OF SERVICES
06/17/11     J. Glasser                    3.20 Research and revise letter brief to Department of
                                                Corrections and LA County Sheriff's Department re
                                                access to Giovanni Ramirez parole revocation hearing
                                                and related correspondence with Ms. Goller and Mr.
                                                Rubin
06/17/11     J. Segal                      2.60 Research and draft letter regarding parole retraction
                                                hearing
06/19/11     J. Glasser                    0.10 Correspondence with Ms. Goller, Mr. Rubin, and K.
                                                Sager re access to Giovanni Ramirez probation hearing
06/20/11     K. Sager                      0.10 Communicate with J. Glasser & J. Segal regarding
                                                hearing closure
             Total Hours Worked            6.00




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
           Case 08-13141-BLS            Doc 10213-2       Filed 11/11/11          PageSuite
                                                                                        302200
                                                                                            of 51
                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

                                                                                        206.622.3150 tel
                                                                                        206.757.7700 fax

                                                                                        Federal ID #XX-XXXXXXX




                    TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                            $1,910.50
                          Less Agreed Discount                                (191.05)
                          Adjusted Current Services                          1,719.45
                          Total Current Disbursements                              0.00
                                                                         ----------------

                          Total Current Invoice                             $1,719.45




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Partner
      Sager, K.                                                  0.10               522.00              52.20
                                                          ------------                          ---------------
         Total                                                   0.10                                   52.20
Associate
      Glasser, J.                                                3.30               292.50             965.25
      Segal, J.                                                  2.60               270.00             702.00
                                                          ------------                          ---------------
         Total                                                   5.90                                1,667.25
                                                          ------------                          ---------------
      Total All Classes                                          6.00                              $1,719.45



                                     STATEMENT OF ACCOUNT
Current Invoice                                                                         $1,742.85

                                                                                ---------------------
Total Balance Due This Matter                                                          $1,742.85



                                   PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS        Doc 10213-2      Filed 11/11/11    PageSuite
                                                                             312200
                                                                                 of 51
                                                                            1201 Third Avenue
                                                                            Seattle, WA 98101-3045

                                                                            206.622.3150 tel
                                                                            206.757.7700 fax

                                                                            Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                July 22, 2011
Attn: Karlene W. Goller, Esq.                                       Invoice No. 5990803
Vice President and Deputy General Counsel                           SENT ELECTRONICALLY
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

                      ELECTRONIC BILLING - DO NOT MAIL
                             FOR FILING PURPOSES ONLY
Matter No.        0026175-000397
Grand Jury Subpoena

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
06/28/11   K. Sager                   0.80 Review federal grand jury subpoena and communicate
                                           with Ms. Goller regarding same (0.4); telephone
                                           conference with M. Bartlett and communicate with Ms.
                                           Goller regarding same (0.4)
06/29/11   K. Sager                   0.30 Telephone conference with Ms. Goller regarding
                                           federal grand jury subpoena and response
           Total Hours Worked         1.10




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
          Case 08-13141-BLS             Doc 10213-2       Filed 11/11/11          PageSuite
                                                                                        322200
                                                                                            of 51
                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

                                                                                        206.622.3150 tel
                                                                                        206.757.7700 fax

                                                                                        Federal ID #XX-XXXXXXX




                  TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                              $682.00
                          Less Agreed Discount                                (107.80)
                          Adjusted Current Services                            574.20
                          Total Current Disbursements                              0.00
                                                                         ----------------

                          Total Current Invoice                               $574.20




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour        Bill Amount
Partner
      Sager, K.                                                  1.10               522.00             574.20
                                                          ------------                          ---------------
         Total                                                   1.10                                  574.20
                                                          ------------                          ---------------
      Total All Classes                                          1.10                                $574.20



                                     STATEMENT OF ACCOUNT
Current Invoice                                                                             $574.20

                                                                                ---------------------
Total Balance Due This Matter                                                             $574.20




                                   PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS        Doc 10213-2       Filed 11/11/11      PageSuite
                                                                                332200
                                                                                    of 51
                                                                               1201 Third Avenue
                                                                               Seattle, WA 98101-3045

                                                                               206.622.3150 tel
                                                                               206.757.7700 fax

                                                                               Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                   July 28, 2011
Attn: Karlene W. Goller, Esq.                                          Invoice No. 5992816
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:           0026175-000317
Los Angeles County Sheriff CPRA
0000001714

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
06/01/11   K. Sager                   0.30 Communicate with R. Wilcox and J. Glasser regarding
                                           fees motion
06/03/11   R. Wilcox                  0.90 Multiple communications with J. Glasser regarding fee
                                           motion and communicate with K. Sager regarding
                                           recommendation for pursuing fees
06/03/11   J. Glasser                 4.60 Research and draft e-mail memorandum to R. Wilcox
                                           re attorneys' fee motion and related call with R. Wilcox
                                           (2.8); call with Ms. Goller re strategy for pursuing
                                           attorneys' fees (.1); research and draft email
                                           memorandum regarding private attorney general statute
                                           (1.7)
06/06/11   K. Sager                   0.30 Communicate with team regarding CPRA fee motion
06/06/11   J. Glasser                 7.40 Research and draft attorney fee motion
06/07/11   K. Sager                   0.30 Communicate with Marc Nolan regarding pending
                                           cases on pitchess issue
06/07/11   A. Wickers                 0.30 Communicate with Ms. Goller and J. Glasser regarding
                                           fee motion (.2); communicate with Mr. Grossberg
                                           regarding declaration to support fee motion (.1)
06/07/11   J. Glasser                 7.60 Research and draft attorney fee motion (6.3) ; review
                                           bills from 2009 to 2011 for this case (1.3)
06/09/11   K. Sager                   0.50 Review bills for fee motion
06/12/11   R. Wilcox                  2.80 Revise fee motion, including research regarding private

                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
           Case 08-13141-BLS       Doc 10213-2       Filed 11/11/11     PageSuite
                                                                              342200
                                                                                  of 51
                                                                             1201 Third Avenue
                                                                             Seattle, WA 98101-3045

                                                                             206.622.3150 tel
                                                                             206.757.7700 fax

                                                                             Federal ID #XX-XXXXXXX




DATE       PROFESSIONAL            TIME DESCRIPTION OF SERVICES
                                          attorney general statute and award of fees against
                                          private entity (2.8)
06/14/11   J. Glasser                0.30 Revise fee motion
06/15/11   K. Roth                   3.30 Review files and calculate costs incurred in matter for
                                          inclusion in attorney fees motion
06/16/11   J. Glasser                0.30 Call with Ms. Goller and revise fee motion
06/16/11   K. Roth                   2.10 Cite check Fee Motion per J. Glasser
06/17/11   J. Glasser                0.10 Call and correspondence with Mr. Grossberg re fee
                                          declaration
06/17/11   K. Roth                   2.40 Continue cite check of Reply brief and preparation of
                                          Appendix of Non-California authorities
06/20/11   J. Glasser                1.00 Revise fee motion, draft Glasser declaration, and
                                          prepare exhibits
06/20/11   K. Roth                   0.40 Prepare Appendix of Non-California Authorities per J.
                                          Glasser
06/21/11   K. Sager                  0.30 Discussion with J. Glasser regarding fee motion filing
                                          issue
06/23/11   J. Glasser                0.20 Call with Mr. Brouwer re fee motion
06/24/11   K. Sager                  0.40 Communicate with J. Glasser regarding fee motion and
                                          issues and review communications with R. Brouwer
06/29/11   K. Sager                  0.20 Communicate with J. Glasser regarding fee motion and
                                          his telephone conference with R. Brouwer
06/29/11   J. Glasser                0.50 Call with Mr. Brouwer re fees (.3); correspondence
                                          with K. Sager re fee issues and LASD (.2)
           Total Hours Worked       36.50



                                  DISBURSEMENT DETAIL

DESCRIPTION                                                      QUANTITY             AMOUNT
Photocopy Charges                                                    1,463              146.30
Filing fee - - APEX ATTORNEY SERVICES INC - 4/27/11                      1              183.00
2nd Appellate District Court per J. Glasser
Filing fee - - US LEGAL MANAGEMENT SERVICES INC -                           1                   53.32
4/18/11 LASC per C. Solano
Filing fee - - US LEGAL MANAGEMENT SERVICES INC -                           1                   58.07
4/21/11 LASC per C. Solano
Legal process server service - - APEX ATTORNEY                              1                   32.00
SERVICES INC - 4/27/11 Hon. James Chalfant & Hon. Robert
O'Brien per J. Glasser
                                PLEASE REMIT WITH PAYMENT
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                                                                                     352200
                                                                                         of 51
                                                                                     1201 Third Avenue
                                                                                     Seattle, WA 98101-3045

                                                                                     206.622.3150 tel
                                                                                     206.757.7700 fax

                                                                                     Federal ID #XX-XXXXXXX




Legal process server service - - APEX ATTORNEY                                      1                   70.50
SERVICES INC - 4/27/11 Elizabeth Gibbons per J. Glasser
Legal process server service - - APEX ATTORNEY                                      1                   32.00
SERVICES INC - 4/27/11 Rick Brouwer per J. Glasser
Legal process server service - - US LEGAL MANAGEMENT                                1                   52.73
SERVICES INC - 4/18/11 Office of County Counsel per C.
Solano
Legal process server service - - US LEGAL MANAGEMENT                                1              123.44
SERVICES INC - 4/18/11 Green & Shinee per C. Solano
Outside search service - - Credit Card - 5/12/11 LASC Online                        1                   37.50
Outside search service - - US LEGAL MANAGEMENT                                      1                   78.14
SERVICES INC - 4/20/11 LASC per C. Solano
Outside search service - - GLOBAL NETWORK LEGAL                                     1                   52.50
SUPPORT - 5/17/11 CA Court of Appeals per C. Solano
                Total Current Disbursements                                                       $919.50



                 TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                       Total Current Services                          $11,161.75
                       Less Agreed Discount                              (1,014.70)
                       Adjusted Current Services                         10,147.05
                       Total Current Disbursements                           919.50
                                                                      ----------------

                       Total Current Invoice                           $11,066.55




                                 SUMMARY BY PROFESSIONAL

Professional                                       Hours Worked       Billed Per Hour       Bill Amount
Partner
      Sager, K.                                                2.30              522.00          1,200.60
      Wickers, A.                                              0.30              468.00            140.40
      Wilcox, R.                                               3.70              391.50          1,448.55

                                 PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS         Doc 10213-2   Filed 11/11/11    PageSuite
                                                                           362200
                                                                               of 51
                                                                           1201 Third Avenue
                                                                           Seattle, WA 98101-3045

                                                                           206.622.3150 tel
                                                                           206.757.7700 fax

                                                                           Federal ID #XX-XXXXXXX




                                                   ------------                     ---------------
         Total                                            6.30                           2,789.55
Associate
      Glasser, J.                                       22.00          292.50            6,435.00
                                                   ------------                     ---------------
         Total                                          22.00                            6,435.00
Paralegal
      Roth, K.                                            8.20         112.50              922.50
                                                   ------------                     ---------------
         Total                                            8.20                             922.50
                                                   ------------                     ---------------
      Total All Classes                                 36.50                         $10,147.05



                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                          $43,742.75

Current Invoice                                                          $11,066.55

                                                                    ---------------------
Total Balance Due This Matter                                             $54,809.30




                                  PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS        Doc 10213-2       Filed 11/11/11     PageSuite
                                                                               372200
                                                                                   of 51
                                                                              1201 Third Avenue
                                                                              Seattle, WA 98101-3045

                                                                              206.622.3150 tel
                                                                              206.757.7700 fax

                                                                              Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                  July 28, 2011
Attn: Karlene W. Goller, Esq.                                         Invoice No. 5992817
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:          0026175-000326
Gaming Advertising Advice

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
06/01/11   J. Nguyen                  0.30 Analyze issues regarding LA Deals credits
06/01/11   A. Wickers                 0.20 Communicate with Ms. Xanders, J. Nguyen, and S.
                                           Sullivan regarding Daily Deal and terms of virtual
                                           coupons
06/02/11   J. Nguyen                  0.80 Analyze issues regarding LA Deals credits; review
                                           email memorandum to Ms. Xanders
06/02/11   S. Sullivan                1.80 Research regarding latimes.com fantasy sports betting
                                           site; draft email regarding same
06/03/11   A. Wickers                 0.20 Telephone call with Ms. Xanders regarding Hero
                                           Complex blog
06/07/11   A. Wickers                 1.20 Analyze app proposal for Hero Complex blog,
                                           including brief research (.4); telephone call with Ms.
                                           Xanders regarding same (.8)
           Total Hours Worked         4.50




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
           Case 08-13141-BLS            Doc 10213-2       Filed 11/11/11          PageSuite
                                                                                        382200
                                                                                            of 51
                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

                                                                                        206.622.3150 tel
                                                                                        206.757.7700 fax

                                                                                        Federal ID #XX-XXXXXXX




                     TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                            $2,102.50
                          Less Agreed Discount                                (210.25)
                          Adjusted Current Services                          1,892.25
                          Total Current Disbursements                              0.00
                                                                         ----------------

                          Total Current Invoice                             $1,892.25




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Partner
      Nguyen, J.                                                 1.10               472.50             519.75
      Wickers, A.                                                1.60               468.00             748.80
                                                          ------------                          ---------------
         Total                                                   2.70                                1,268.55
Associate
      Sullivan, S.                                               1.80               346.50             623.70
                                                          ------------                          ---------------
         Total                                                   1.80                                  623.70
                                                          ------------                          ---------------
      Total All Classes                                          4.50                              $1,892.25



                                     STATEMENT OF ACCOUNT
Balance from Previous Statement                                                         $1,083.49

Current Invoice                                                                         $1,892.25

                                                                                ---------------------
Total Balance Due This Matter                                                          $2,975.74

                                   PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS        Doc 10213-2      Filed 11/11/11    PageSuite
                                                                             392200
                                                                                 of 51
                                                                            1201 Third Avenue
                                                                            Seattle, WA 98101-3045

                                                                            206.622.3150 tel
                                                                            206.757.7700 fax

                                                                            Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                July 28, 2011
Attn: Karlene W. Goller, Esq.                                       Invoice No. 5992818
Vice President and Deputy General Counsel                           SENT ELECTRONICALLY
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

                      ELECTRONIC BILLING - DO NOT MAIL
                             FOR FILING PURPOSES ONLY
Matter No.     0026175-000331
Combs-Rosemond
0000001776

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
06/21/11   K. Sager                   0.30 Review E-mail string and Facebook postings from Mr.
                                           Phillips about Rosemond story and communicate with
                                           Ms. Goller regarding same
06/21/11   K. Sager                   0.30 Telephone conference with Ms. Goller regarding
                                           Rosemond story and Facebook postings
06/21/11   K. Sager                   0.40 Review E-mail and attachment from Mr. Phillips and
                                           telephone conference with Ms. Goller
06/28/11   K. Sager                   0.50 Review E-mail from CJR and telephone conference
                                           with Ms. Goller regarding same (0.2); further
                                           communications with Ms. Goller regarding Chuck
                                           Phillips (0.3)
06/29/11   K. Sager                   0.20 Review statements to CJR regarding Chuck Phillips
           Total Hours Worked         1.70



                                   DISBURSEMENT DETAIL



                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                                        402200
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                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

                                                                                        206.622.3150 tel
                                                                                        206.757.7700 fax

                                                                                        Federal ID #XX-XXXXXXX




DESCRIPTION                                                              QUANTITY                AMOUNT
Photocopy Charges                                                               87                   8.70
              Total Current Disbursements                                                           $8.70



                  TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                              $986.00
                          Less Agreed Discount                                  (98.60)
                          Adjusted Current Services                            887.40
                          Total Current Disbursements                              8.70
                                                                         ----------------

                          Total Current Invoice                               $896.10




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Partner
      Sager, K.                                                  1.70               522.00             887.40
                                                          ------------                          ---------------
         Total                                                   1.70                                  887.40
                                                          ------------                          ---------------
      Total All Classes                                          1.70                                $887.40




                                   PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS        Doc 10213-2        Filed 11/11/11       PageSuite
                                                                                  412200
                                                                                      of 51
                                                                                 1201 Third Avenue
                                                                                 Seattle, WA 98101-3045

                                                                                 206.622.3150 tel
                                                                                 206.757.7700 fax

                                                                                 Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                     July 28, 2011
Attn: Karlene W. Goller, Esq.                                            Invoice No. 5992820
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:           0026175-000385
Long Beach Police Association

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
06/08/11   K. Sager                   0.30 Communicate with Mr. Nolan, Attorney General's
                                           Office, regarding status/amici
06/10/11   J. Glasser                 0.10 Correspondence with Mr. Nolan of Attorney General's
                                           office regarding status of litigation and briefing in trial
                                           court
06/28/11   J. Glasser                 0.10 Correspondence with Ms. Cummins and Mr. Bibring
                                           regarding briefing schedule and amici briefs
           Total Hours Worked         0.50



                                   DISBURSEMENT DETAIL

DESCRIPTION                                                         QUANTITY               AMOUNT
Conference call service - - COURTCALL LLC - 5/31/11 LA                     1                  70.00
County Superior Court per J. Glasser
                Total Current Disbursements                                                     $70.00




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
           Case 08-13141-BLS            Doc 10213-2       Filed 11/11/11          PageSuite
                                                                                        422200
                                                                                            of 51
                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

                                                                                        206.622.3150 tel
                                                                                        206.757.7700 fax

                                                                                        Federal ID #XX-XXXXXXX




                    TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                              $239.00
                          Less Agreed Discount                                  (23.90)
                          Adjusted Current Services                            215.10
                          Total Current Disbursements                            70.00
                                                                         ----------------

                          Total Current Invoice                               $285.10




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour        Bill Amount
Partner
      Sager, K.                                                  0.30               522.00             156.60
                                                          ------------                          ---------------
         Total                                                   0.30                                  156.60
Associate
      Glasser, J.                                                0.20               292.50              58.50
                                                          ------------                          ---------------
         Total                                                   0.20                                   58.50
                                                          ------------                          ---------------
      Total All Classes                                          0.50                                $215.10



                                     STATEMENT OF ACCOUNT
Balance from Previous Statement                                                       $42,140.62

Current Invoice                                                                             $285.10

                                                                                ---------------------
Total Balance Due This Matter                                                         $42,425.72


                                   PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS       Doc 10213-2       Filed 11/11/11     PageSuite
                                                                              432200
                                                                                  of 51
                                                                             1201 Third Avenue
                                                                             Seattle, WA 98101-3045

                                                                             206.622.3150 tel
                                                                             206.757.7700 fax

                                                                             Federal ID #XX-XXXXXXX




Tribune Co.                                                          July 28, 2011
Attn: David Eldersveld, Esq.                                         Invoice No. 5992821
General Counsel
435 N. Michigan Ave.
Chicago, IL 60611



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:           0041033-000020
Los Angeles General Advice

DATE       PROFESSIONAL            TIME DESCRIPTION OF SERVICES
06/01/11   R. London                 2.30 Teleconference with Ms. Flax and Ms. Glassberg
                                          regarding proposed telemarketing contract, participate
                                          on call with other side regarding same; draft language
                                          for same and communicate with client relating to the
                                          draft language
06/23/11   R. London                 0.10 E-memo to client regarding Truth in Caller ID
                                          regulations
06/27/11   R. London                 0.10 E-memo regarding Truth in Caller ID rules
           Total Hours Worked        2.50




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
          Case 08-13141-BLS             Doc 10213-2       Filed 11/11/11          PageSuite
                                                                                        442200
                                                                                            of 51
                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

                                                                                        206.622.3150 tel
                                                                                        206.757.7700 fax

                                                                                        Federal ID #XX-XXXXXXX




                   TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                            $1,200.00
                          Less Agreed Discount                                (120.00)
                          Adjusted Current Services                          1,080.00
                          Total Current Disbursements                              0.00
                                                                         ----------------

                          Total Current Invoice                             $1,080.00




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Of_Counsel
      London, R.                                                 2.50               432.00          1,080.00
                                                          ------------                          ---------------
         Total                                                   2.50                                1,080.00
                                                          ------------                          ---------------
      Total All Classes                                          2.50                              $1,080.00



                                     STATEMENT OF ACCOUNT
Balance from Previous Statement                                                         $3,112.91

Current Invoice                                                                         $1,080.00

                                                                                ---------------------
Total Balance Due This Matter                                                          $4,192.91




                                   PLEASE REMIT WITH PAYMENT
             Case 08-13141-BLS        Doc 10213-2     Filed 11/11/11     PageSuite
                                                                               452200
                                                                                   of 51
                                                                                1201 Third Avenue
                                                                                Seattle, WA 98101-3045

                                                                                206.622.3150 tel
                                                                                206.757.7700 fax

                                                                                Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                 July 29, 2011
Attn: Karlene W. Goller, Esq.                                        Invoice No. 5992848
Vice President and Deputy General Counsel                            SENT ELECTRONICALLY
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

                       ELECTRONIC BILLING - DO NOT MAIL
                              FOR FILING PURPOSES ONLY
Matter No.           0026175-000396
Ramirez

DATE         PROFESSIONAL             TIME DESCRIPTION OF SERVICES
06/07/11     K. Henry                   2.00 Begin drafting Reply Brief
             Total Hours Worked         2.00



                   TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                        Total Current Services                       $780.00
                        Less Agreed Discount                           (105.00)
                        Adjusted Current Services                      675.00
                        Total Current Disbursements                       0.00
                                                                ----------------

                        Total Current Invoice                        $675.00




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
          Case 08-13141-BLS          Doc 10213-2   Filed 11/11/11        PageSuite
                                                                               462200
                                                                                   of 51
                                                                               1201 Third Avenue
                                                                               Seattle, WA 98101-3045

                                                                               206.622.3150 tel
                                                                               206.757.7700 fax

                                                                               Federal ID #XX-XXXXXXX




                                  SUMMARY BY PROFESSIONAL

Professional                                 Hours Worked         Billed Per Hour      Bill Amount
Associate
      Henry, K.                                           2.00             337.50              675.00
                                                   ------------                         ---------------
         Total                                            2.00                                 675.00
                                                   ------------                         ---------------
      Total All Classes                                   2.00                               $675.00



                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                                $1,742.85

Current Invoice                                                                  $675.00

                                                                        ---------------------
Total Balance Due This Matter                                                  $2,417.85




                                  PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS           Doc 10213-2       Filed 11/11/11     PageSuite
                                                                                  472200
                                                                                      of 51
                                                                                 1201 Third Avenue
                                                                                 Seattle, WA 98101-3045

                                                                                 206.622.3150 tel
                                                                                 206.757.7700 fax

                                                                                 Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                     July 29, 2011
Attn: Karlene W. Goller, Esq.                                            Invoice No. 5993444
145 S. Spring Street, 3rd Floor                                          SENT ELECTRONICALLY
Los Angeles, CA 90012



                                      JULY INVOICE FOR
_________________________               STATEMENT OF       ________________________
                                SERVICES AND DISBURSEMENTS

                       ELECTRONIC BILLING - DO NOT MAIL
                               FOR FILING PURPOSES ONLY
Matter No.            0026175-000394
Effort to Unseal

DATE       PROFESSIONAL                TIME DESCRIPTION OF SERVICES
04/14/11   R. Wilcox                     0.30 Review Motion to Compel Return of Video Recordings
                                              and communicate with clients, T. Burke, Mr. Boutrous
                                              regarding same (.3)
04/16/11   T. Burke                      1.00 Provide direction to R. Wilcox regarding strategy
                                              regarding media coalition's motion to intervene and
                                              further developed First Amendment and unsealing
                                              caselaw; initial review of motion to seal by proponents
                                              and plaintiff's motion to unseal to coordinate media
                                              coalition's arguments for same
04/16/11   R. Wilcox                     5.90 Research regarding right of access to video recordings
                                              and draft Joinder in Plaintiffs' Motion to Unseal (5.9)
04/17/11   R. Wilcox                     2.10 Revise Joinder to incorporate suggested edits by T.
                                              Burke and circulate to clients (1.1); prepare Motion to
                                              Intervene (.8); communicate with E. Duncan, N.
                                              Majorko regarding instructions for filing (.2)
04/18/11   T. Burke                      6.30 Further review and analysis of the Proponents' Motion
                                              to Seal and Plaintiffs' Motion to Unseal Digital
                                              Recordings of the Trial; revise media coalition's
                                              motion to unseal and supporting application; series of
                                              telephone conferences with media coalition

                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
           Case 08-13141-BLS   Doc 10213-2       Filed 11/11/11      PageSuite
                                                                           482200
                                                                               of 51
                                                                          1201 Third Avenue
                                                                          Seattle, WA 98101-3045

                                                                          206.622.3150 tel
                                                                          206.757.7700 fax

                                                                          Federal ID #XX-XXXXXXX




DATE       PROFESSIONAL        TIME DESCRIPTION OF SERVICES
                                      representatives regarding strategy issues
04/18/11   R. Wilcox             2.90 Finalize draft of Joinder, including multiple
                                      communications with T. Burke and edits to Joinder and
                                      Motion to Intervene (2.9)
04/21/11   T. Burke              0.20 Review and analysis of Reply brief in support of
                                      motion to seal video recordings of the trial and update
                                      clients regarding same
04/27/11   T. Burke              0.40 Analysis of plaintiffs' Reply in support of motion for
                                      public disclosure of trial video recordings and update
                                      clients regarding same; update regarding ruling from
                                      the Ninth Circuit transferring the case back to U.S.
                                      District Court Judge James Ware; exchange of
                                      communications with counsel for plaintiffs regarding
                                      timing and coordination
04/29/11   T. Burke              1.00 Exchange of communications and telephone
                                      conference with Mr. Boutrous (counsel for plaintiffs)
                                      regarding interpretations of Judge Ware's order inviting
                                      additional briefing on the issue of publicly releasing
                                      the recording of the trial and related strategy
04/29/11   R. Wilcox             0.40 Telephone conversation with T. Burke regarding order
                                      issued by Judge Ware, steps to ensure Court considers
                                      media brief in evaluating issue (.4)
05/02/11   T. Burke              0.20 Update clients regarding the Court's order deferring
                                      matter to 6/13 hearing and anticipated strategy
05/03/11   T. Burke              0.30 Review and revise letter to Judge Ware (to comply
                                      with Ninth Circuit's order)
05/04/11   T. Burke              0.60 Telephone conference with Mr. Boutrous (counsel for
                                      plaintiffs) regarding new arguments to make in support
                                      of Motion to Unseal and steps to take before 6/13
                                      hearing
05/31/11   T. Burke              0.80 Review new ruling in companion case; further assist A.
                                      Doran regarding strategy issues re draft amici brief
06/13/11   T. Burke              5.70 Prepare for argument and attend contested hearing in
                                      San Francisco before Chief Judge James Ware
                                      regarding motion for access/to unseal trial court
                                      recordings; update clients regarding status and
                                      anticipated next steps
06/14/11   T. Burke              0.30 Update clients regarding 8/29 hearing on motion to
                                      unseal the trial court recordings and follow-up
                                      exchange regarding same
06/16/11   T. Burke              0.30 Update to Mr. Boutrous regarding themes (and new
                          PLEASE REMIT WITH PAYMENT
          Case 08-13141-BLS           Doc 10213-2        Filed 11/11/11        PageSuite
                                                                                     492200
                                                                                         of 51
                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

                                                                                        206.622.3150 tel
                                                                                        206.757.7700 fax

                                                                                        Federal ID #XX-XXXXXXX




DATE      PROFESSIONAL                TIME DESCRIPTION OF SERVICES
                                             legal authorities to offer) for potential follow-up
                                             briefing regarding the motion unseal
          Total Hours                  28.70



                  TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE
                        Total Current Services                          $14,365.50
                        Total Current Disbursements                             0.00
                                                                      ---------------
                        Total Current Invoice                           $13,972.56

                        Your Portion of Amount Due at 9%                 $1,292.94
                        Less Courtesy Discount                            $(392.94)
                        Adjusted Current Invoice                           $900.00



                                 SUMMARY BY PROFESSIONAL

Professional                                     Hours Worked        Billed Per Hour              Bill Amount
Partner
   R. Wilcox                                               11.60              435.00                   5,046.00
   T. Burke                                                17.10              545.00                   9,319.50
                                                      ------------                                  -------------
         Total                                             28.70                                     14,365.50
                                                      ------------                                  -------------
    Total All Classes                                      28.70                                    $14,365.50



                                   STATEMENT OF ACCOUNT

Current Invoice                                                                                      $900.00


Total Balance Due This Matter                                                                        $900.00


                                 PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS        Doc 10213-2      Filed 11/11/11      PageSuite
                                                                               502200
                                                                                   of 51
                                                                              1201 Third Avenue
                                                                              Seattle, WA 98101-3045

                                                                              206.622.3150 tel
                                                                              206.757.7700 fax

                                                                              Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                  July 28, 2011
Attn: Karlene W. Goller, Esq.                                         Invoice No. 5992460
Vice President and Deputy General Counsel                             SENT ELECTRONICALLY
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JULY INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

                        ELECTRONIC BILLING - DO NOT MAIL
                             FOR FILING PURPOSES ONLY
Matter No.         0026175-000398
Los Angeles Unified School District CPRA

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
06/01/11   J. Glasser                 3.30 Research and draft letter to Los Angeles Unified
                                           School District regarding access to teacher database
                                           and related communicate with R. Wilcox
06/02/11   R. Wilcox                  1.10 Review and revise letter regarding CPRA request for
                                           value-added data
06/02/11   J. Glasser                 0.70 Revise letter to LAUSD regarding access to value-
                                           added scores for teachers and related correspondence
                                           with Ms. Goller
           Total Hours Worked         5.10




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
              Case 08-13141-BLS         Doc 10213-2       Filed 11/11/11          Page 51 of 51

Los Angeles Times Communications LLC
Invoice No. 5992460
Page No. 2



                    TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                           $1,778.50
                          Less Agreed Discount                                (177.85)
                          Adjusted Current Services                          1,600.65
                          Total Current Disbursements                              0.00
                                                                         ----------------

                          Total Current Invoice                            $1,600.65




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Partner
      Wilcox, R.                                                 1.10               391.50             430.65
                                                          ------------                          ---------------
         Total                                                   1.10                                  430.65
Associate
      Glasser, J.                                                4.00               292.50           1,170.00
                                                          ------------                          ---------------
         Total                                                   4.00                                1,170.00
                                                          ------------                          ---------------
      Total All Classes                                          5.10                              $1,600.65



                                     STATEMENT OF ACCOUNT
Current Invoice                                                                         $1,600.65

                                                                                ---------------------
Total Balance Due This Matter                                                          $1,600.65



Kelli Sager
